B 2100A (Form 2100A) (12/15) ci

UNITED STATES BANKRUPTCY COURT °

Inte Zaanas Jueees GEE, Case No. LOA OBES

TAVERA SAUL CRAVE E

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

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Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): /O-/
should be sent: i) 2 ea? ithon Amount of Claim: Wey : a
: ICD"
Louk een LO AE. 9 Date Claim Filed: O
Phone: HO ~ S/F -PGAR Phone: _ 9/7 7% - Valid

 

 

Last Four Digits of Acct #:_ = uw Last Four Digits of Acct. #:;_ 4/7

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my, mnowledge and belief.
Date: j i Me 7

 
 
   

Trans feree/Trd sforee’ s ; Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

 
